               Case 24-10157-1-rel                         Doc 81     Filed 03/22/24 Entered 03/22/24 15:54:18                          Desc Main
                                                                     Document      Page 1 of 15
 Fill in this information to identify your case:

 Debtor 1          Kris Daniel Roglieri
                       First Name                    Middle Name             Last Name

 Debtor 2
 (Spouse, if filing) First Name                      Middle Name             Last Name


 United States Bankruptcy Court for the: Northern District of New York

 Case number            24-10157-1 rel
 (If known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                     04/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.


 Part 1:          Give Details About Your Marital Status and Where You Lived Before


 1. What is your current marital status?

           Married
              Not married


 2. During the last 3 years, have you lived anywhere other than where you live now?

           No
           Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

              Debtor 1:                                                Dates Debtor 1    Debtor 2:                                         Dates Debtor 2
                                                                       lived there                                                         lived there

                                                                                            Same as Debtor 1                                  Same as Debtor 1

                                                                      From                                                                    From
                Number              Street                                                  Number   Street
                                                                      To                                                                      To




                City                         State       ZIP Code                           City                 State       ZIP Code

                                                                                            Same as Debtor 1                                  Same as Debtor 1
                                                                      From                                                                    From
                Number              Street                                                  Number   Street
                                                                      To                                                                      To




                City                         State       ZIP Code                           City                 State       ZIP Code


 3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
      states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No
           Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).



 Part 2:        Explain the Sources of Your Income


Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                      page 1
             Case 24-10157-1-rel                      Doc 81        Filed 03/22/24 Entered 03/22/24 15:54:18                                     Desc Main
                                                                   Document      Page 2 of 15
Debtor 1        Kris Daniel Roglieri                                                                        Case number (if known) 24-10157-1 rel
                First Name      Middle Name           Last Name




  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

           No
           Yes. Fill in the details.

                                                            Debtor 1                                                  Debtor 2

                                                            Sources of income            Gross income                 Sources of income          Gross income
                                                            Check all that apply.        (before deductions and       Check all that apply.      (before deductions and
                                                                                         exclusions)                                             exclusions)

                                                                  Wages, commissions,                                     Wages, commissions,
            From January 1 of current year until                                         $ (194,131)                                             $
                                                                  bonuses, tips                                           bonuses, tips
            the date you filed for bankruptcy:
                                                                  Operating a business                                    Operating a business


           For last calendar year:                                Wages, commissions,                                     Wages, commissions,
                                                                  bonuses, tips          $ (1,122,139)                    bonuses, tips          $
           (January 1 to December 31, 2023)                       Operating a business                                    Operating a business
                                              YYYY


           For the calendar year before that:                     Wages, commissions,                                     Wages, commissions,
                                                                  bonuses, tips          $ 524,799                        bonuses, tips          $
           (January 1 to December 31, 2022)                       Operating a business                                    Operating a business
                                              YYYY



 5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
     unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
     gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.
           No
           Yes. Fill in the details.

                                                             Debtor 1                                                  Debtor 2

                                                             Sources of income               Gross income from         Sources of income
                                                             Describe below.                                                                     Gross income from
                                                                                             each source               Describe below.           each source
                                                                                             (before deductions and                              (before deductions and
                                                                                             exclusions)                                         exclusions)



            From January 1 of current year until                                         $                                                       $
            the date you filed for bankruptcy:                                           $                                                       $
                                                                                         $                                                       $


            For last calendar year:                                                      $                                                       $
            (January 1 to December 31,                )                                  $                                                       $
                                               YYYY
                                                                                         $                                                       $



            For the calendar year before that:                                           $                                                       $
            (January 1 to December 31,                )                                  $                                                       $
                                               YYYY
                                                                                         $                                                       $




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 2
            Case 24-10157-1-rel                       Doc 81         Filed 03/22/24 Entered 03/22/24 15:54:18                         Desc Main
                                                                    Document      Page 3 of 15
Debtor 1      Kris Daniel Roglieri                                                                Case number (if known) 24-10157-1 rel
              First Name        Middle Name            Last Name




  Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy



  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               “incurred by an individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

                    No. Go to line 7.

                    Yes. List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the
                         total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                         child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                    No. Go to line 7.

                    Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                         creditor. Do not include payments for domestic support obligations, such as child support and
                         alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                       Dates of     Total amount paid       Amount you still owe      Was this payment for…
                                                                       payment


                     See Attachment                                                $   980,343.04          $ 2,006,405.14                 Mortgage
                     Creditor’s Name

                                                                                                                                          Car

                     Number      Street                                                                                                   Credit card

                                                                                                                                          Loan repayment

                                                                                                                                          Suppliers or vendors
                     City                 State          ZIP Code
                                                                                                                                          Other



                                                                                   $                       $                              Mortgage
                     Creditor’s Name
                                                                                                                                          Car

                                                                                                                                          Credit card
                     Number      Street
                                                                                                                                          Loan repayment

                                                                                                                                          Suppliers or vendors

                     City                 State          ZIP Code
                                                                                                                                          Other




                                                                                   $                       $                              Mortgage
                     Creditor’s Name
                                                                                                                                          Car

                                                                                                                                          Credit card
                     Number      Street
                                                                                                                                          Loan repayment

                                                                                                                                          Suppliers or vendors


                     City                 State          ZIP Code
                                                                                                                                          Other




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                            page 3
            Case 24-10157-1-rel                        Doc 81        Filed 03/22/24 Entered 03/22/24 15:54:18                               Desc Main
                                                                    Document      Page 4 of 15
Debtor 1           Kris Daniel Roglieri                                                                Case number (if known) 24-10157-1 rel
                   First Name       Middle Name         Last Name




  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

           No
           Yes. List all payments to an insider.
                                                                        Dates of     Total amount        Amount you still
                                                                                                                            Reason for this payment
                                                                        payment      paid                owe


                                                                                    $                   $
            Insider’s Name



            Number         Street




            City                           State      ZIP Code



                                                                                    $                   $
            Insider’s Name


            Number         Street




            City                           State      ZIP Code



  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments that benefited an insider.
                                                                       Dates of         Total amount     Amount you still   Reason for this payment
                                                                       payment          paid             owe                Include creditor’s name


                                                                                    $                   $
            Insider’s Name



            Number         Street




            City                           State      ZIP Code




                                                                                    $                   $
            Insider’s Name



            Number         Street




            City                           State      ZIP Code


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 4
            Case 24-10157-1-rel                            Doc 81         Filed 03/22/24 Entered 03/22/24 15:54:18                                  Desc Main
                                                                         Document      Page 5 of 15
 Debtor 1       Kris Daniel Roglieri                                                                        Case number (if known) 24-10157-1 rel
                First Name            Middle Name            Last Name


  Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

   9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
      and contract disputes.

            No
            Yes. Fill in the details.
                                                                  Nature of the case                  Court or agency                                    Status of the case

                                                                                                     United States District Court for the
                                                                                                     Northern District of New York
                                                                                                                                                             Pending
                       1031, LLC v Prime Capital
                                                                                                                                                             On appeal
            Case title Ventures, LLC                                                                 Court Name
                                                                  Fraud                              445 Broadway, Suite 509                                 Concluded

                                                                                                     Number       Street


            Case number 1:24-cv-00055-MAD-CFH                                                        Albany                NY       12207
                                                                                                     City                   State    ZIP Code

                                                                                                     United States District Court for the
                                                                                                     District of Utah                                        Pending
                       Onward Holding v. Prime
                                                                                                                                                             On appeal
            Case title Capital Ventures                                                              Court Name
                                                                                                                                                             Concluded
                                                                  Fraud                              351 S W Temple Street
                                                                                                     Number       Street


            Case number 23-cv-833 (JNP)                                                              Salt Lake City UT              84101
                                                                                                     City                   State    ZIP Code


  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
      Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
                                                                            Describe the property                                     Date          Value of the property



                 U.S. Attorney                                                                                                         02/02/2024    $ 14,962,375.
                 Creditor’s Name
                                                                           See attachment


                                                                            Explain what happened
                 Number      Street
                                                                                Property was repossessed.
                                                                                Property was foreclosed.
                                                                                Property was garnished.
                 City                          State        ZIP Code            Property was attached, seized, or levied.
                                                                                                                                                     Value of the
                                                                            Describe the property                                     Date
                                                                                                                                                     property



                                                                                                                                                     $
                 Creditor’s Name



                 Number      Street
                                                                            Explain what happened


                                                                                Property was repossessed.
                                                                                Property was foreclosed.
                                                                                Property was garnished.
                 City                          State        ZIP Code
                                                                                Property was attached, seized, or levied.

Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 5
              Case 24-10157-1-rel                         Doc 81          Filed 03/22/24 Entered 03/22/24 15:54:18                                 Desc Main
                                                                         Document      Page 6 of 15
 Debtor 1          Kris Daniel Roglieri                                                                     Case number (if known) 24-10157-1 rel
                   First Name        Middle Name             Last Name




  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
      accounts or refuse to make a payment because you owed a debt?

             No
             Yes. Fill in the details.

                                                                    Describe the action the creditor took                        Date action           Amount
                                                                                                                                 was taken
            Creditor’s Name


                                                                                                                                                   $
            Number        Street




            City                   State       ZIP Code             Last 4 digits of account number: XXXX–


  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
      creditors, a court-appointed receiver, a custodian, or another official?

            No
            Yes

  Part 5:          List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

            No
            Yes. Fill in the details for each gift.


             Gifts with a total value of more than $600                                                                           Dates you gave
                                                                    Describe the gifts                                                                      Value
             per person                                                                                                           the gifts



                                                                                                                                 ______                 $ ______
            Person to Whom You Gave the Gift

            Tina Roglieri                                                                                                        ______                 $

            0 Harris St.                                           See attachment
            Number       Street


            Queensbury NY                      12804
            City                   State       ZIP Code
                                               Spouse
            Person’s relationship to you       (separated)


            Gifts with a total value of more than $600              Describe the gifts                                            Dates you gave            Value
            per person                                                                                                            the gifts


                                                                                                                                 12/25/2023             $ 70,000
            Person to Whom You Gave the Gift

            Linda Oliver                                                                                                         12/25/2023             $ 30,000
                                                                   Watch
            40 North Rd                                            Bracelet
            Number       Street

            Queensbury NY                      12804
            City                   State       ZIP Code

            Person’s relationship to you     Girlfriend

Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 6
              Case 24-10157-1-rel                         Doc 81           Filed 03/22/24 Entered 03/22/24 15:54:18                                 Desc Main
                                                                          Document      Page 7 of 15
 Debtor 1           Kris Daniel Roglieri                                                                        Case number (if known) 24-10157-1 rel
                    First Name      Middle Name               Last Name




  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

            No
            Yes. Fill in the details for each gift or contribution.

            Gifts or contributions to charities                                                                                      Date you
                                                                   Describe what you contributed                                                        Value
            that total more than $600                                                                                                contributed



                                                                                                                                                        $
            Charity’s Name


                                                                                                                                                        $


            Number        Street




            City                    State          ZIP Code




   Part 6:          List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
     disaster, or gambling?

            No
            Yes. Fill in the details.

             Describe the property you lost                          Describe any insurance coverage for the loss                    Date of your       Value of property
             and how the loss occurred                                                                                               loss               lost
                                                                     Include the amount that insurance has paid. List pending
                                                                     insurance claims on line 33 of Schedule A/B: Property.


                                                                                                                                                        $




  Part 7: List Certain Payments or Transfers

  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
      you consulted about seeking bankruptcy or preparing a bankruptcy petition?
      Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.

             Pashman Stein Walder                                                                                                    Date payment or
             Hayden, P.C.                                           Description and value of any property transferred                transfer was       Amount of payment
                                                                                                                                     made
             Person Who Was Paid

             1007 North Orange Street
             Number        Street                                                                                                     02/07/2024        $ 100,000.00

             Suite 183
                                                                                                                                                        $
             Wilmington DE                        19801
             City                       State       ZIP Code

             https://www.pashmanstein.com/
             Email or website address
             Prime Commerical Lending, LLC
             Person Who Made the Payment, if Not You


Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 7
             Case 24-10157-1-rel                              Doc 81        Filed 03/22/24 Entered 03/22/24 15:54:18                                 Desc Main
                                                                           Document      Page 8 of 15
  Debtor 1          Kris Daniel Roglieri                                                                     Case number (if known) 24-10157-1 rel
                    First Name       Middle Name               Last Name




                                                                                                                                  Date payment or
                                                                                                                                                      Amount of
                                                                    Description and value of any property transferred             transfer was
                                                                                                                                                      payment
                                                                                                                                  made

             Person Who Was Paid



             Number        Street                                                                                                                     $


                                                                                                                                                      $
             City                       State       ZIP Code



             Email or website address



             Person Who Made the Payment, if Not You


   17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
       promised to help you deal with your creditors or to make payments to your creditors?
       Do not include any payment or transfer that you listed on line 16.

             No
             Yes. Fill in the details.

                                                                                                                                  Date payment or     Amount of
                                                                    Description and value of any property transferred
                                                                                                                                  transfer was        payment
                                                                                                                                  made
             Person Who Was Paid

                                                                                                                                                      $
             Number         Street



                                                                                                                                                      $
             City                    State         ZIP Code

   18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
       transferred in the ordinary course of your business or financial affairs?
       Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your
       property). Do not include gifts and transfers that you have already listed on this statement.
             No
             Yes. Fill in the details.

                                                                    Description and value of property       Describe any property or payments received    Date transfer
                                                                    transferred                             or debts paid in exchange                     was made

             Person Who Received Transfer


             Number        Street




             City                       State       ZIP Code


             Person’s relationship to you



             Person Who Received Transfer


             Number        Street




             City                       State       ZIP Code

             Person’s relationship to you
Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 8
              Case 24-10157-1-rel                          Doc 81        Filed 03/22/24 Entered 03/22/24 15:54:18                                  Desc Main
                                                                        Document      Page 9 of 15
  Debtor 1          Kris Daniel Roglieri                                                                   Case number (if known) 24-10157-1 rel
                    First Name         Middle Name          Last Name




   19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
      you are a beneficiary? (These are often called asset-protection devices.)

             No
             Yes. Fill in the details.

                                                                  Description and value of the property transferred                                        Date transfer
                                                                                                                                                           was made



             Name of trust




  Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

   20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
      benefit, closed, sold, moved, or transferred?
       Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
       brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
             No
             Yes. Fill in the details.

                                                                                                      Type of account or        Date account was       Last balance before
                                                                  Last 4 digits of account number                               closed, sold, moved,
                                                                                                      instrument                                       closing or transfer
                                                                                                                                or transferred

             Name of Financial Institution
                                                                   XXXX–                                   Checking                                    $

                                                                                                           Savings
             Number        Street

                                                                                                           Money market
                                                                                                           Brokerage
             City                   State      ZIP Code                                                    Other




                                                                                                           Checking
             Name of Financial Institution
                                                                   XXXX–                                                                               $
                                                                                                           Savings
             Number        Street
                                                                                                           Money market
                                                                                                           Brokerage
                                                                                                           Other
             City                   State      ZIP Code

   21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
      securities, cash, or other valuables?
         No
          Yes. Fill in the details.

                                                                   Who else had access to it?                      Describe the contents                      Do you still
                                                                                                                                                              have it?

                                                                                                                                                                    No
             Name of Financial Institution                       Name                                                                                               Yes

             Number       Street                                 Number     Street



                                                                 City                State      ZIP Code
             City                      State    ZIP Code


Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 9
             Case 24-10157-1-rel                              Doc 81           Filed 03/22/24 Entered 03/22/24 15:54:18                                   Desc Main
                                                                              Document     Page 10 of 15
  Debtor 1          Kris Daniel Roglieri                                                                          Case number (if known) 24-10157-1 rel
                     First Name          Middle Name              Last Name




   22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
             No
             Yes. Fill in the details.
                                                                        Who else has or had access to it?              Describe the contents                      Do you still
                                                                                                                                                                  have it?

                                                                                                                                                                       No
             Name of Storage Facility                                 Name                                                                                             Yes


             Number        Street                                     Number      Street


                                                                      City State ZIP Code

             City                        State     ZIP Code



     Part 9:          Identify Property You Hold or Control for Someone Else
    23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
       or hold in trust for someone.
             No
             Yes. Fill in the details.
                                                                     Where is the property?                           Describe the property                  Value



              Owner’s Name                                                                                                                                    $

              Number Street                                         Number      Street




              City                       State         ZIP Code     City                    State      ZIP Code

    Part 10:           Give Details About Environmental Information

    For the purpose of Part 10, the following definitions apply:
    ■ Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
      hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
      including statutes or regulations controlling the cleanup of these substances, wastes, or material.

    ■ Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
      utilize it or used to own, operate, or utilize it, including disposal sites.

    ■ Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
      substance, hazardous material, pollutant, contaminant, or similar term.

    Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

    24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

              No
              Yes. Fill in the details.
                                                                      Governmental unit                     Environmental law, if you know it                Date of notice




             Name of site                                           Governmental unit


             Number         Street                                  Number       Street


                                                                    City          State     ZIP Code



             City                    State         ZIP Code

Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 10
             Case 24-10157-1-rel                             Doc 81         Filed 03/22/24 Entered 03/22/24 15:54:18                                     Desc Main
                                                                           Document     Page 11 of 15
 Debtor 1           Kris Daniel Roglieri                                                                         Case number (if known) 24-10157-1 rel
                    First Name          Middle Name           Last Name




   25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
                                                                   Governmental unit                        Environmental law, if you know it                  Date of notice




            Name of site                                         Governmental unit


            Number          Street                               Number       Street


                                                                 City            State       ZIP Code


            City                       State      ZIP Code



   26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.

                                                                      Court or agency                           Nature of the case                              Status of the
                                                                                                                                                                case

            Case title
                                                                    Court Name                                                                                      Pending

                                                                                                                                                                    On appeal
                                                                    Number       Street                                                                             Concluded


            Case number                                             City             State       ZIP Code



    Part 11:          Give Details About Your Business or Connections to Any Business
   27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                   A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                   A member of a limited liability company (LLC) or limited liability partnership (LLP)
                   A partner in a partnership
                   An officer, director, or managing executive of a corporation
                   An owner of at least 5% of the voting or equity securities of a corporation

             No. None of the above applies. Go to Part 12.
             Yes. Check all that apply above and fill in the details below for each business.

                                                                    Describe the nature of the business                        Employer Identification number
                                                                                                                               Do not include Social Security number or ITIN.
             Business Name

                                                                    See attachment                                              EIN:            -
             Number Street
                                                                     Name of accountant or bookkeeper                           Dates business existed


                                                                                                                                From            To
             City                    State        ZIP Code

                                                                    Describe the nature of the business                        Employer Identification number
                                                                                                                               Do not include Social Security number or ITIN.
             Business Name

                                                                                                                                EIN:            -
             Number Street
                                                                     Name of accountant or bookkeeper                           Dates business existed


                                                                                                                                From            To
             City                    State        ZIP Code

Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 11
             Case 24-10157-1-rel                              Doc 81           Filed 03/22/24 Entered 03/22/24 15:54:18                                   Desc Main
                                                                              Document     Page 12 of 15
Debtor 1          Kris Daniel Roglieri                                                                             Case number (if known) 24-10157-1 rel
                  First Name             Middle Name          Last Name




                                                                      Describe the nature of the business                       Employer Identification number
                                                                                                                                Do not include Social Security number or ITIN.
           Business Name

                                                                                                                                 EIN:          -
           Number Street
                                                                          Name of accountant or bookkeeper                       Dates business existed



                                                                                                                                 From           To

           City                         State      ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

           No

           Yes. Fill in the details below.

                                                                          Date issued




           Name                                                           MM / DD / YYYY



           Number              Street




           City                           State    ZIP Code




 Part 12:         Sign Below


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by
      fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.



        /s/ Kris Daniel Roglieri                                                          
           Signature of Debtor 1                                                               Signature of Debtor 2
            Kris Daniel Roglieri
           Date      03/22/2024                                                                Date

      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

            No
            Yes



      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
          No

            Yes. Name of person                                                                                         . Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                                                          Declaration, and Signature (Official Form 119).




Official Form 107                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 12
                                                                                                                   Case 24-10157-1-rel          Doc 81    Filed 03/22/24 Entered 03/22/24 15:54:18                  Desc Main
                                                                                                                                                         Document     Page 13 of 15
                                                                                                                                                              In re Kris Daniel Roglieri
                                                                                                                                                                 Case No. 24-10157
                                                                                                                                                                     Question 6




Creditor's Name                  Address                           Date(s) of Payment*    Total amount paid  Amount still owed Was this payment for…
Hogan and Lovells                600 Brickell Avenue, Suite 2700                          $       850,000.00 $      886,672.84 Other: Legal fees
                                 Miami FL 33131
Discover                         PO Box 30943 Salt Like City UT                           $          67,884.00 $            11,000.00 Credit Card
                                 84130
Key Bank                         127 Public Square Cleveland OH                           $          24,161.00 $          100,000.00 Mortgage and Loan repayment
                                 44114
New York State Department of Tax PO Box 5300 Albany NY 12205-                             $          30,000.00 $          558,732.30 Other: Taxes
                                 0300
Denali State Bank                119 N. Cusman Street Fairbanks                           $           8,298.04 $          450,000.00 Car
                                 AK 99701
Total                                                                                     $        980,343.04 $         2,006,405.14

                                                                   *Debtor has been locked out of his bank account for 10 days and is not be able to access the information to determine the exact dates. An amended statement will be filed with those dates once the Debtor has his access restored.
     Case 24-10157-1-rel          Doc 81    Filed 03/22/24 Entered 03/22/24 15:54:18           Desc Main
                                              In re Kris Daniel
                                           Document        Page Roglieri
                                                                  14 of 15
                                                   Case No. 24-10157
                                                      Question 10


Description of Property                                                                        Value of Property
Cedric DuPont antique documents of sale                                                        $          100.00
2017 Ferrari 488 (title thereof; vehicle currently in the possession of Ai Design Inc.)        $     350,000.00
2014 Ferrari f12 (title thereof)                                                               $     500,000.00
2019 Mercedes G63 (title thereof)                                                              $     120,000.00
2019 Mercedes gt63s (title thereof)                                                            $     115,000.00
2022 Mercedes gt black series (title thereof)                                                  $     350,000.00
2020 Lamborghini, SVJ (title thereof)                                                          $     650,000.00
2014 SLS Mercedes black series (title thereof)                                                 $     500,000.00
2007 Mercedes SLR 722 (vehicle and title thereof)                                              $     750,000.00
1982 Mercedes 500 SL AMG (vehicle and title thereof)                                           $     300,000.00
2006 Maserati MC 12 (invoice thereof; vehicle currently in the possession of Ai Design Inc.)   $   3,800,000.00
2022 Ferrari 812 Competizione (title thereof)                                                  $   1,700,000.00
2022 Mercedes g63 4x4 square (title thereof)                                                   $     500,000.00
Ferrari V12 Engine Coffee Table                                                                $     200,000.00
1989 Mercedes-Benz 560 SEL AMG 6.0 (vehicle and title thereof)                                 $     200,000.00
1959 Cadillac Eldorado (title and bill of sale thereof)                                        $     300,000.00
1987 Mercedes-Benz 560 SEC AMG 6.0 'Wide-Body' (title thereof)                                 $     700,000.00
2014 Ferrari 458 Speciale (title thereof)                                                      $     500,000.00
2006 Mercedes CL 65 AMG (title thereof)                                                        $      40,000.00
Rolex Day-Date 40 Platinum Day-Date 40mm Ice Blue Dial                                         $     120,000.00
Roman Numerals Rolex Day-Date 40 Platinum Baguette Dial Blue                                   $      75,000.00
Rolex Day-Date 40mm Platinum with Baguette Bezel Meteorite                                     $     120,000.00
Rolex Day-Date 41 Rose Gold Black Ruby Dial                                                    $      60,000.00
Rolex, 36 mm Gold and Turquoise Baguette                                                       $      75,000.00
Richard Mille RM 65-01 Automatic Chronograph Full Rose Gold                                    $     450,000.00
Richard Mille RM 011 Felipe Massa Boutique Exclusive DLC Titanium Rose Gold                    $     200,000.00
Hublot Black and Gold watch                                                                    $             -
HP Spectre with card                                                                           $        1,500.00
Office Max Notebook                                                                            $          200.00
iPhone 14                                                                                      $          100.00
iPhone 13                                                                                      $          100.00
iPad – silver in black case                                                                    $          150.00
PNY Optima 4 GB SD Card                                                                        $           25.00
Digital devices (1 hard drive, 1 camera, 2 thumb drives, 12 SD cards, 2 SIM cards)             $          100.00
Mercedes SLR 722 exhaust                                                                       $      35,000.00
Two aftermarket exhausts for Ferraris                                                          $      30,000.00
MC 12 Maserati tires                                                                           $      20,000.00
WD MyBook hard drive                                                                           $          100.00
New York State tax documents                                                                         N/A
US passport                                                                                          N/A
Richard Mille Tourbillion Skull RM 052 Watch                                                   $   2,200,000.00
Total                                                                                          $ 14,962,375.00
   Case 24-10157-1-rel       Doc 81    Filed 03/22/24 Entered 03/22/24 15:54:18        Desc Main
                                         In re Kris Daniel
                                      Document        Page Roglieri
                                                             15 of 15
                                           Case No. 24-10157
                                              Question 13


Person          Describe the gift              Dates                Value
Tina Roglieri   Money transfer for children               1/26/2024 $     100,000.00
Tina Roglieri   Money transfer for children                1/3/2024 $      15,000.00
Tina Roglieri   Money transfer for children              12/29/2023 $       8,000.00
Tina Roglieri   Money transfer for children              12/28/2023 $      12,000.00
Tina Roglieri   Mercedes Benz GLE 63 AMG SUV                 Dec-23 $      75,000.00
Tina Roglieri   Audi S8                                        2022 $     115,000.00
